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 8                                   UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                         Case No. 1:16-cr-00122-DAD-BAM-1
12                      Plaintiff,
13          v.                                         STIPULATION AND ORDER TO
                                                       CONTINUE SENTENCING
14   GILBERTO ZARATE,
15                      Defendant.
16

17          IT IS HEREBY STIPULATED by and between the parties hereto through their respective

18   counsel ROBERT LAMANUZZI, attorney for Defendant, and MELANIE ALSWORTH,

19   Assistant U.S. Attorney for Plaintiff, that the hearing currently scheduled for May 21, 2018, shall

20   be continued to JUNE 18, 2018, at 10:00 a.m.

21          This continuance is necessary due to defense counsel’s schedule and inmate transportation

22   issues. Since Mr. Zarate is in the Kern County location, there was insufficient opportunity for

23   defense counsel and defendant to meet and confer and prepare for sentencing.

24          The parties stipulate that the time until the next hearing should be excluded from the

25   calculation of time under the Speedy Trial Act. The parties stipulate that the ends of justice are

26   served by the court excluding such time, so that counsel for the defendant may have reasonable

27   time necessary for effective preparation, taking into account the exercise of due diligence. 18

28   U.S.C. §3161(h)(7)(B)(iv).
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 1          The parties stipulate and agree that the interests of justice are served by granting this

 2   continuance outweigh the best interests of the public and the defendant in a speedy trial. 18

 3   U.S.C. §3161(h)(7)(A).

 4   DATED: May 16, 2018
 5                                                Respectfully submitted,
                                                  /S/ Robert Lamanuzzi
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                                                  ROBERT LAMANUZZI
 7                                                Attorney for Defendant, GILBERTO ZARATE

 8   DATED: May 16, 2018
                                                  Respectfully submitted,
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                                                  /S/Melanie Alsworth
10                                                MELANIE ALSWORTH, Assistant U.S. Attorney

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12                                                 ORDER

13         The court has reviewed and considered the stipulation of the parties to continue the

14   sentencing in this case. Good cause appearing, the sentencing hearing as to the above named

15   defendant currently scheduled for May 21, 2018, is continued until June 18, 2018, at 10:00 a.m.

16   in courtroom 5 before District Judge Dale A. Drozd.

17   IT IS SO ORDERED.
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        Dated:     May 16, 2018
19                                                         UNITED STATES DISTRICT JUDGE

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